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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF KENTUCKY
                               LEXINGTON DIVISION

GENCANNA GLOBAL USA, INC.                    )
                                             )
               Plaintiff,                    )        Case No. ______________
                                             )
         v.                                  )        COMPLAINT
                                             )
JENCO INDUSTRIAL SALES &                     )        Jury Trial Demanded
SERVICES, LLC, and EDWARD J.                 )
SIEJA,                                       )
                                             )
               Defendants.                   )

         Plaintiff GenCanna Global USA, Inc. (“GenCanna”), by and through its undersigned

counsel, brings this action against Defendants Jenco Industrial Sales & Services, LLC (“Jenco”)

and Edward J. Sieja (“Sieja”) (together, “Defendants”) for breach of contract, fraud, promissory

estoppel, and unjust enrichment, and alleges as follows:

                                 NATURE OF THE ACTION

         1.    Defendants held themselves out as legitimate dealers of industrial equipment when

in fact they are nothing but frauds. Specifically, Defendants Jenco and its principal Edward Sieja

duped GenCanna into making millions of dollars of payments for industrial equipment that

Defendants had no intention of ever delivering.

         2.    Defendants fraudulently induced GenCanna to contract with Jenco to purchase

three chillers and six molecular three-stages distillation units to be used in GenCanna’s non-

intoxicating cannabidiol (“CBD”) extraction and distillation business. For many months,

GenCanna has made payments for these units, but to this day Defendants still have not delivered

a single functioning unit. Recently, Defendants admitted what they secretly knew all along—that

Defendants have no plan of ever performing what they promised under the contract.



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                                 JURISDICTION AND VENUE

         3.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332. The parties

are citizens of different States, and the amount in controversy exceeds $75,000.

         4.    This Court has personal jurisdiction over each of the Defendants because they have

availed themselves of the benefits and privileges of doing business in Kentucky, and the exercise

of jurisdiction over them would not offend traditional notions of fair play.

         5.    Venue is proper in the Eastern District of Kentucky pursuant to 28 U.S.C. § 1391

because a substantial part of the events giving rise the claims occurred in this District.

                                             PARTIES

         6.    Plaintiff GenCanna Global USA, Inc. is a Delaware corporation with its principal

place of business at 321 Venable Road, Winchester, Kentucky.

         7.    Defendant Jenco Industrial Sales & Services, LLC is a Louisiana limited liability

company with its principal place of business at 1420 Louise Street, Alexandria, Louisiana, and, on

information and belief, its sole member resides at the same address.

         8.    Defendant Edward J. Sieja is a citizen of Louisiana residing at 1420 Louise Street,

Alexandria, Louisiana, and, on information and belief, is the sole member of Jenco Industrial Sales

& Services, LLC.

                                              FACTS

         9.    GenCanna is in the business of extracting and distilling CBD (legal and non-

intoxicating) from industrial hemp. This is currently a booming but highly competitive industry.

         10.   Jenco held itself out as a legitimate and experienced dealer in industrial equipment,

including the kinds of equipment necessary to extract and distill CBD from industrial hemp.




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         11.   Sieja is the principal of Jenco and likewise held himself out as a legitimate and

experienced dealer in industrial equipment. Unbeknownst to GenCanna, Sieja (a part-time police

officer at the time) had been arrested for felony theft of police property in 2016.

         12.   In and around September 2018, Defendants promised to provide GenCanna with

certain industrial equipment essential to its business—specifically, three chillers and six molecular

three-stages distillation units necessary to extract and distill CBD from hemp.

         13.   When Defendants made this promise, they had no intention of performing it.

Rather, Defendants were engaged in a scheme to dupe GenCanna and string it along for months,

fraudulently inducing GenCanna to make millions of dollars of payments for equipment that

Defendants would never deliver in any functioning form.

         14.   Defendants and GenCanna executed a series of purchase orders memorializing their

agreement that Defendants would sell and GenCanna would buy the three chillers and six

molecular three-stages distillation units promised by Defendants. (Exhibit 1.) The purchase orders

constitute a valid and enforceable contract.

         15.   Between September 2018 and May 2019, GenCanna made numerous payments for

this equipment promised by Defendants, totaling over $2,290,166.

         16.   Defendants eventually delivered one chiller. However, the chiller delivered by

Defendants was not functional. Defendants represented that they would take back the non-

functioning chiller and refund GenCanna’s money. However, despite numerous requests,

Defendants have not told GenCanna where to send the chiller, nor have they refunded the money.

         17.   Likewise, Defendants eventually delivered one molecular distillation unit.

However, the distillation unit delivered by Defendants also was not functional. Again, Defendants

kept the money GenCanna had paid for the non-functioning distillation unit.



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         18.    GenCanna has now paid Defendants over $2,290,166 for the promised equipment,

yet Defendants have not delivered a single functioning chiller or molecular distillation unit. Even

worse, Defendants have now indicated that they have no intention of delivering any such

equipment in the future.

         19.    As a result of Defendants’ failure to deliver the equipment they had promised,

GenCanna will be unable to process millions of dollars of CBD during the current harvest season.

It is now too late for GenCanna to obtain the equipment from another source because of the long

lead time required to manufacture and/or procure the equipment, which is in high demand. This

outcome was foreseeable and in fact known to Defendants when they made their false promises to

provide the equipment in a timely manner.

         20.    Defendants’ conduct alleged herein has caused and will continue to cause

GenCanna to lose millions of dollars, far in excess of the $2,290,166 GenCanna has already paid

for the equipment promised.

                            COUNT I — BREACH OF CONTRACT

         21.    GenCanna incorporates by reference the allegations in paragraphs 1-20 as though

fully set forth herein.

         22.    Defendants entered into a contract with GenCanna to provide three chillers and six

molecular three-stages distillation units.

         23.    Defendants breached the contract with GenCanna by failing to provide any of the

equipment required under the contract in any functioning form.

         24.    Defendants’ breach of the contract has caused GenCanna to suffer damages in an

amount to be proven at trial, but no less than $2,290,166.




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                                      COUNT II — FRAUD

         25.      GenCanna incorporates by reference the allegations in paragraphs 1-20 as though

fully set forth herein.

         26.      Defendants represented to GenCanna that they would provide GenCanna with three

chillers and six molecular three-stages distillation units.

         27.      Defendants’ representation to GenCanna was false because Defendants had no

intention of ever delivering this equipment in any functional form.

         28.      Defendants knew their representation to GenCanna was false when they made it.

         29.      Defendants intended to induce GenCanna to act in reliance on the false

representation.

         30.      GenCanna relied upon Defendants’ false representation by paying Defendants

$2,290,166 and by foregoing opportunities to obtain the equipment from another source.

         31.      GenCanna has been injured as result of its reliance on Defendants’ false

representation.

                           COUNT III — PROMISSORY ESTOPPEL

         32.      GenCanna incorporates by reference the allegations in paragraphs 1-20 as though

fully set forth herein.

         33.      Defendants promised to provide GenCanna with three chillers and six molecular

three-stages distillation units.

         34.      Defendants expected to induce GenCanna’s reliance on its promise to provide

GenCanna with three chillers and six molecular three-stages distillation units.

         35.      Gencanna relied on Defendants’ promise by paying Defendants $2,290,166 and by

foregoing opportunities to obtain the equipment from another source.



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         36.    Injustice can be avoided only by enforcement of Defendants’ promise to provide

GenCanna with three chillers and six molecular three-stages distillation units.

                            COUNT IV — UNJUST ENRICHMENT

         37.    GenCanna incorporates by reference the allegations in paragraphs 1-20 as though

fully set forth herein.

         38.    GenCanna conferred a benefit upon Defendants at GenCanna’s expense by paying

Defendants $2,290,166.

         39.    Defendants have appreciated the benefit conferred by GenCanna by retaining the

$2,290,166.

         40.    Defendants’ retention of the benefit of the $2,290,166 paid by GenCanna without

providing any of the equipment ordered by GenCanna would be inequitable.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff GenCanna respectfully requests and prays that this Court enter

judgment in GenCanna’s favor against all Defendants as follows:

         (a.)   Ordering specific performance of Defendants’ promise to provide GenCanna with

three chillers and six molecular three-stages distillation units;

         (b.)   Awarding GenCanna damages in an amount to be proven at trial, but no less than

$2,290,166.

         (c.)   Awarding GenCanna punitive damages;

         (d.)   Awarding GenCanna its attorneys’ fees and costs;

         (f.)   Ordering such other relief as the Court deems just and proper.

                                   JURY TRIAL DEMANDED

         Plaintiff GenCanna hereby requests a trial by jury on all issues so triable.



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                                      Respectfully submitted,

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